         Case 6:20-cv-00571-ADA Document 31 Filed 11/09/20 Page 1 of 1                     FILED
                                                                                    November 09, 2020
                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                    WESTERN DISTRICT OF TEXAS

                       IN THE UNITED STATES DISTRICT COURT                                         JK
                                                                                 BY: ________________________________
                        FOR THE WESTERN DISTRICT OF TEXAS                                                DEPUTY

                                  WACO DIVISION



                     STANDING ORDER REGARDING
         UPDATED ORDER GOVERNING PROCEEDINGS – PATENT CASES

       On November 5, 2020, the Court published its latest Order Governing Proceedings for

Patent Cases (OGP version 3.2).1 To improve judicial efficiency, the Court ORDERS that OGP

version 3.2 shall apply retroactively to the Markman briefing in patent cases that are at least one

week before the filing of the opening Markman brief. 2 The parties are directed to file an

amended proposed scheduling order based on OGP version 3.2.


SIGNED this 9th day of November, 2020.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE




1
  Available at https://www.txwd.uscourts.gov/wp-
content/uploads/Standing%20Orders/Waco/Albright/Sample%20Order%20Governing%20Proce
edings%20-%20Patent%20Cases110520.pdf
2
  In other words, if the deadline for the parties’ opening Markman briefs is more than a week
after the date of this standing order, the Markman briefing shall be governed by OGP version
3.2.
